Case 2:04-cr-20159-SHl\/| Document 67 Filed 08/10/05 Page 1 of 2 PagelD 69

. %Wo.c.
iN THE uNiTED sTATEs DisTRlcT couRTF“-ED B"' -' ~-'
FoR THE wEsTERN DisTRicT oF TENNEssEE w m 8 09
wEsTERN DivisioN 05 AU lU

l`l~lG§\llS §ll GOUD

-.- n-\- Ml m‘f

 

UNlTED STATES OF AMER|CA
P|aintiff,
VS. CR. NO. 04-20159-01-3

LA KE|TH HA|V|PTON
Defendant.

V\_/H_/VVV`/vv

 

ORDER ON CHANGE OF PLEA
AND SETT|NG

 

This cause came onto be heard on August 9, 2005, the United States Attorney for
this district, Joe l\/lurphy, appearing for the Government and the defendant, La Keith
Hampton, appearing in person and with counsel, l\/|ichael Scho|l, who represented the
defendant.

With leave of the Court, the defendant Withdrew the not guilty plea heretofore
entered and entered a plea of guilty to Count 1 of the lndictrnent.

Plea colloquy Was held and the Court accepted the guilty plea_

SENTENC|NG in this case is SET for THURSDAY, NOVEMBER10,2005, at
9:00 A.M., before Judge J. Daniel Breen.

Defendant is remanded to the custody ofthe U. S. |Vlarsha|.

‘t\
ENTERED this the _‘_?__ day of August, 2005.

 

 

,J. DA lEL BREEN \
U l D STATES DlSTR|CT COURT

This document entered on the docke shearin compliance

With ama 55 amici 32 ibi Facri= on __/__LQ_O_S'____/

l@

‘l

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 67 in
case 2:04-CR-20159 Was distributed by faX, mail, or direct printing on
August 10, 2005 to the parties listed.

 

 

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

Honorable J. Breen
US DISTRICT COURT

